TO

Case 2:21-cv-10437-GCS-DRG ECF No.1, PagelD.1 Filed 02/08/21 Page 1 of 36

WD

MIED ProSe I (Rev 5/16) Complaint for a Civil Case

OF

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

 

a “2
LY} ¥ ° VYotndorn Case: 2:21-cv—-10437
Judge: Steeh, George Caram

MJ: Grand, David R.

Filed: 2/8/2021

(Write the full name of each plaintiff who is filing this complaint. COMMISSION

If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional Jury Trial:
page with the full list of names.)

Eat Tiana Housing
Comm Uno
OLN LL

(Write the full name of each defendant who is being sued. If the

names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
| with the full list of names.)

 

Complaint for a Civil Case

CMP JOHNSON VS EAST TAWAS HOUSING
ETAL (DP)

ves [| No

(check one)
(3) Case 2:21-cv-10437-GCS-DRG ECF No.1, PagelD.2 Filed 02/08/21 Page 2 of 36
2 |
|

MIED ProSe 1 (Rev 5/16) Complaint for a Civil Case

 

I. The Parties to This Complaint
A. The Plaintiff(s)

additional pages if needed. |
Name Pevglag J pr |
2 3 eA.
Wand BloAn ATP 3lerccee)
TLL. 48439
PET- B20-70O3F
AToh Ww SON 27772 & ymad. Com

Provide the information below for each plaintiff named in the complaint. Attach
Street Address
City and County
State and Zip Code
Telephone Number

E-mail! Address

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the
defendant is an individual, a government agency, an organization, or a corporation.
For an individual defendant, include the person’s job or title (if known). Attach
additional pages if needed.

 

 

Defendant No. |
Name Ener. Barringer
Job or Title Cty Manager"
(if known)
Street Address TbL0 Newe-marn SF POBox 6/2

 

b2at Lrwae MU. 8 730

Ware, 48730 !
799-362-616) OY 99F- 60-8282
WIV, tacttawae . Com

City and County
State and Zip Code
Telephone Number

E-mail Address
(if known)

Defendant No. 2

James. Menen

Name

Job or Title
(if known)

 

|

Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address
(if known)

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Eat Tawa, (Kowce—)
F< FAE730
989-362-4763

 
3) Case 2:21-cv-10437-GCS-DRG ECF No. 1, PagelD.3 Filed 02/08/21 Page 3 of 36

MIED ProSe | (Rev 5/16) Complaint for a Civil Case

Defendant No. 3

Name Anne. Blachemele.
Job or Title Cyreeutive DinecB2

(if known)
Street Address 304 W ay SV 12.07 |
City and County Cnet Mnecne Pei. YS 730
State and Zip Code Wi - YS 730 (Lodecoy)
Telephone Number G89 - 36 2-7 YFE 3

E-mail Addr ViVi, bqgatlinnifKouung comm sdecen
(if known) ~~ o Com

Defendant No. 4

Name Doreg blew ming
Job or Title ‘obre- Din ech

(if known)

Street Address

City and County tandéat

State and Zip Code We

Telephone Number Go 7- 3 Gc~ SPE3

E-mail Address
(if known)

 

 

II. Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of
cases can be heard in federal court: cases involving a federal question and cases involving.
diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under the United
States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C.

§ 1332, a case in which a citizen of one State sues a citizen of another State or nation and the
amount at stake is more than $75,000 is a diversity of citizenship case. Ina diversity of |
citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)

Xt Federal question [_] Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
 

G) Case 2:21-cv-10437-GCS-DRG ECF No.1, PagelD.4 Filed 02/08/21 Page 4 of 36

MIED ProSe | (Rev 5/16) Complaint fora Civil Case

A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States
Q Constitution that are at issue in this case,

Mota, a aVection 8, , federal ferding, atoe,
1973

B. If the Basis for Jurisdiction Is Diversity of Citizenship
l. The Plaintiff(s)

a. If the plaintiff is an individual
The plaintiff, (name)

 

is a citizen of the State of (name)

 

b. If the plaintiff is a corporation
The plaintiff, (name)
is incorporated under the laws of the State of (name)

 

, and has its principal place of business in the

 

State of (name)

 

(If more than one plaintiff is named in the complaint, attach an additional p page
providing the same information for each additional plaintiff.)

2. The Defendant(s)

 

 

 

 

a. If the defendant is an individual
The defendant, (name) . is a citizen of the
State of (name) . Or isa citizen of (foreign
nation) '

b. If the defendant is a corporation
The defendant, (name) , iS incorporated
under the laws of the State of (name) and

 

has its principal place of business in the State of (nume)

. Or is incorporated under the laws of
(foreign nation) . and has its principal place
of business tn (name)

 

 

(If more than one defendant is named in the complaint, attach an additional
page providing the same information for each additional defendant.)
 

) Case 2:21-cv-10437-GCS-DRG ECF No.1, PagelD.5 Filed 02/08/21 Page 5 of 36

MIED ProSe | (Rev 5/16) Complaint for a Civil Case
3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes
or the amount at stake—is more than $75,000, not counting interest and costs of

court, because (explain): mg Gon Lit CU

Ill. Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly
as possible the facts showing that each plaintiff is entitled to the damages or other relief sought.
State how each defendant was involved and what each defendant did that caused the plaintiff
harm or violated the plaintiff's rights, including the dates and places of that involvement or
conduct. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.
 

 

6) Case 2:21-cv-10437-GCS-DRG ECF No.1, PagelD.6 Filed 02/08/21 Page 6 of 36

MIED ProSe | (Rev 5/16) Complaint for a Civil Case

IV.

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do
not make legal arguments. Include any basis for claiming that the wrongs alleged are
continuing at the present time. Include the amounts of any actual damages claimed for the acts
alleged and the basis for these amounts. Include any punitive or exemplary damages claimed,

the amounts, and the reasons you claim you are enfitled to actual or punitive money damage
On 2-12-2620 2 et Qeute kidr2y ebney fotLlecre from Loyted Peck

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Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of
litigation; (2) is supported by existing law or by a nonfrivolous argument for extending.
modifying, or reversing existing law; (3) the factual contentions have evidentiary support or, if
specifically so identified, will likely have evidentiary support after a reasonable opportunity for
further investigation or discovery: and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case-

related papers may be served. | understand that my failure to keep a current address on
file with the Clerk’s Office may result in the dismissal of my case.

Date of signing: Fk. S . 20 ef.
Signature of Plaintiff Dyugbe L. Vt non

Printed Name of Plaintiff Po iL. G LZ SIS Je Joh WSONM

 
 

D Case 2:21-cv-10437-GCS-DRG ECF No.1, PagelD.7 Filed 02/08/21 Page 7 of 36

Civil Nature of Suit Code Descriptions
(Rev. 10/20)

Pp

 
  

370

 

nal Property

Other Fraud
(Excludes any property that is not real
property)

 

  

Action primarily based on fraud relating to personal property that
cannot be classified under any other nature of suit.

 

371

Truth in Lending

Actions relating to fraud or
misrepresentation in the transfer of real
property should be classified under
nature of suit 290, “All Other Real
Property,” or, if foreclosure is involved,
under nature of suit 220, “Foreclosure.”

Action alleging violation of the federal Truth in Lending Act arising from
consumer loan transactions involving personal property including
automobile loans and revolving credit accounts. i

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380

Other Personal Property Damage

Action primarily based on damage to personal property caused by
harmful conduct such as negligence, misrepresentation, interference
with business relationships or unfair trade practices.

 

385

 

 

Property Damage Product Liability

 

Action alleging damage to personal property caused by a defective
product.

 

Civil Rights

 
 

 

 

 

Action alleging a civil rights violation other than the specific civil rights

 

 

 

 

 

 

 

 

 

440 Other Civil Rights
(Excludes claims against corrections categories listed below or a violation related to prison. Example:
officials) Action alleging excessive force by police incident to an arrest.
441 Voting Action filed under Civil Rights Act, 52 U.S.C. § 10101, and Voting Rights
Act, 52 U.S.C. § 10301 ,
442 Employment Action filed under Age Discrimination in Employment Act 29:621:634,
Equal Employment Opportunity Act (Title Vii) 42:2000E, Performance
Rating Act of 1950 5:4303
443 Housing/Accommodations Action filed under the Fair Housing Act (Title VII}, 42 U.S.C. § 3601 &
3602.
445 Americans With Disabilities - Action of discrimination against an employee with disabilities of any
Employment type in the work place, filed under 42 U.S.C. § 12117
446 Americans With Disabilities - Other ? Action of discrimination against an individual with disabilities in areas
SO 4un Hud ° other than employment, filed under 42 U.S.C. § 12133 (exclusion or
discrimination in provision of services, programs or activities of a public
Paper entity) or 42 U.S.C. § 12188 (public accommodations)
448 Education Action filed under the Individuals with Disabilities Educations Act, 20
U.S.C. § 1401 and Title IX of the Education Amendment of 1972, 20
U.S.C. § 1681 et seq.

 

Page 3 of 8

 

 

  

 
Case 2:21-cv-10437-GCS-DRG ECF No. 1, PagelD.8 Filed 02/08/21 Page 8 of 36

wocre( 501370)

Authority: “Acts 453 and 220, P_A. of 1976, as amended.
Compietion: Required

 

 

 

STATE OF MICHIGAN

|

 

Penalty: Allegations of unlawful discrimination cannot be DEPARTMENT OF CIVIL RIGHTS
investigated without a sworn complaint. Cc O M p LAI N T FEO.
MDCK $013 70

CLAIMANT Mr. D ouglas Johnson FESPONDENT pay Park Towers/East Tawas Housing Commission
OC (ky of Eat Lana owen's
mwone®® 109 Church Street fOPRESS 304 W. Bay St.

Apartment 401 East Tawas, MI 48730

East Tawas, MI 48730
TELEPHONE - (989) 820- 7034 “ TELEPHONE (989) 362- 4963 -

Area of Discrimination: Housing

Date of Discrimination:

 

Statement of Alleged Discrimination:

January 1 17, 2020

 

I am a person with a disability and I believe I have been denied reasonable accommodations by respondent.

I live in respondent's Bay Park Tower North apartment complex.

Failure to accom. disabili
re ¢ Mewk 6

P4/17/2020

Disability

Iam a person with disabilities and I have been denied a ressonable mo dification and accommodation by respondent. I put in

several work orders asking respondent to adjust or replace my unit's door and the doors in the stairwell which are heavy,

hard to open, and slam shut. I explained that my disability made it difficult to use these doors and that the slamming noise
exacerbates my disability, On December 10, 2019, I placed another work order, but was told there was nothing respondent

could do to adjust the doors.

Thave complained for months, most recently on January 17, 2020, that respondent's failure to maintain the apartment's
garbage chute exacerbates my disability and requested that respondent clean the chute more often. My request was denied. ,

I believe I have been denied a reasonable modification and accommodation by respondent.

This complaint is based on the following law:
Michigan Persons with Disabilities Act No. 220, Public Acts o
ee

 

£1976, as amended _,

This complaint is is filed i ied in "good f faith and not for purpose of harassment.

Pear a. Ligell

| swear or affirm that | have read the above complaint and that it is true to
the best of my knowledge, information and belief. | have notified the
Gepartment of all other civil or criminal actions pending with regard to the

allegations in this complaint.

7 SIGNATURE OF CHAS

    

  

Compiaint Taken by:

cr s08 (or 0805) Fe xc

ING PARTY / CLAIMANT

__René Hoffmann

Subscribed and swom to before me

this 44

EAST UTAunS
My Commission expires (dd/mm/yyyy) le l 241 2 aCe cae

"Commissioned ih? “ROTARY
PY COMMIGBION EXPIRES JUNE 26

Mayes ih AA,

NOTARY PUBLIC
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Case 2:21-cv-10437-GCS-DRG ECF No.1, PagelD.9 Filed 02/08/21 Page 9 of 36

 

GRETCHEN WHITMER STATE OF MICHIGAN JAMES E. WHITE
GOVERNOR DEPARTMENT OF CIVIL RIGHTS EXECUTIVE DIRECTOR
DETROIT

January 19, 2021

Douglas Johnson

5234 Perry Road

Unit #3

Grand Blanc, MI 48439

RE: Reconsideration Request Mp . R S pO )
MDCR Case#: 501370 C NOL d / 3 / C
Douglas Johnson v East Tawas Housing Commission

Dear Douglas Johnson: City of E2oT. Lawn CUVH. bay bnPe

A review of your letter requesting reconsideration and the re-examination of your file has
affirmed that there is insufficient evidence under the department's rules to proceed further with
this complaint. Your request that your complaint be reopened is therefore denied.

This letter constitutes the Department’s final decision that it will not issue a charge on your
behalf. Per Rule 37.18 of the Michigan Civil Rights Commission Rules, you may appeal this
denial to the circuit court of the state of Michigan having jurisdiction provided by law, within 30.
days of the date of service of this notice. Pursuant to state law, the parties to such an appeal
would include yourself and the respondent named in your original complaint.

Sincerely,

Dounce Struneer te oped Wuth permis anor)

David Stringer
Reconsideration Attorney
Phone: (313) 456-3794

Fax: (313) 456-3837 3 5,
Email: StringerD@michigan.gov Rev of Pp 0 td AoW UL

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(REV.5-02) Detroit Office 3054 West Grand Boulevard, Suite 3-600, Detroit MI 48202

www.michigan.gov (313) 456-3701
Pg LE
 

Case 2:21-cv-10437-GCS-DRG ECF No.1, PagelD.10 Filed 02/08/21 Page 10 of 36

 

[HIS NOTIFICATION IS ISSUED UNDER THE
UTHORITY OF ACTS 220 & 453, PA OF 1976 AS

 

IDETROIT OFFICE
8054 WEST GRAND BOULEVARD, SUITE 3-400
IDETROIT Mt 48202

STATE OF MICHIGAN

 

 

 

 

 

MENDED
DEPARTMENT OF CIVIL RIGHTS

 

NOTICE OF DISPOSITION AND ORDER OF DISMISSAL

Hud MOCR 581370
MCR # 501370 Vien Nes onky,

HUD #: 052084608

Claimant: 2: Respondent:
/ Ly / LZ i. . at
5238 Deny Road fF of Ex at Aattvad CWlns cas awas Housing tte Awe,
605 S. Capitol Avenue 4

nit #3 4 Park Agere La Lansing, MI 48933

Grand Blanc, MI 48439

 

REASON FOR DISMISSAL:

ae te ctentnet was
vant ii violation of civil rights laws.

This complaint alleges that the respondent discriminated against the claii

The investigation of this complaint included a review of all information obtained during the investigation.

Based upon all the evidence in the file, e.g. any applicable statements of witnesses, analysis of
comparatives and review of documents, the department determined that there is insufficient evidence to

proceed.

It is therefore ordered that this complaint is dismissed.

 

Date Dismissed: July 14, 2020

 

Date Mailed: JUL 3 0 2020

 

IsiLori Vinson/Director, Civil Rights Operations

 

RULES OF CIVIL RIGHTS COMMISSION AND DEPARTMENT RELATING TO RECONSIDERATION AND APPEAL

f the department a reconsideration of its refusal to issue a charge. The request shall be in
the grounds upon which it is based, and be filed within 30 days after the date of mailing of the
h reconsideration is requested. It shall be filed at any office of the department by personal

Rule 7.(1) A claimant may request 0
writing, state specifically,
notice of disposition of whic
delivery or by mail.

(2) The department may authorize a hearing on the request for reconsideration at such time and place, and before such
hearing commissioner or commissioners or hearing referee or referees as it or the director may determine, and notice
thereof shall be given to all parties to the proceedings.

Rule 18. Any party claiming to be aggrieved by a final order of the

refusal to issue a charge, may appeal to the circuit court o
30 days of the date of service of an appealable order.

commission or the department, including without limitation a
f the State of Michigan having jurisdiction provided by law within

 

 

 

CR462-OD (Rev 03-2020)

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Case 2:21-cv-10437-GCS-DRG ECF No.1, PagelD.11 Filed 02/08/21 Page 11 of 36

 

STATE OF MICHIGAN
GRETCHEN WHITMER DEPARTMENT OF CIVIL RIGHTS Mary Engeiman, INTERIM
GOVERNOR DETROIT DIRECTOR

February 7, 2020

Mr. Douglas Johnson
109 Church Street
Apartment 401

East Tawas, MI 48730 |

Re: Notice of Formal Complaint
Contact #501370 Douglas Johnson v Bay Park Towers/East Tawas Housing Commission

Dear Mr. Johnson:

Enclosed is a copy of your complaint of discrimination, a copy of which has also been mailed to
the Respondent, The Respondent has been asked to reply to your allegations. You do not need
to take any further action at this time; however, please contact the Department if:

You change your address and/or telephone number.

This matter has been resolved.

You retain an attorney to represent you in this matter or you file in court.
You have a proposal to resolve the complaint. oO

ewNP

The Department will contact you after receipt and review of Respondent's reply.

 

IMPORTANT LEGAL INFORMATION:

Civil rights laws prohibit retaliation or discrimination against any person who has filed
a complaint, testified, assisted or participated in an investigation, proceeding or hearing.
Contact the Department if you believe you have been subjected to retaliation.

You have the right to contact an attorney and/or file your own private action in court in

accordance with state and federai laws. ,
PLR ame

 

 

 

Please contact me if you have any questions.

Menem

René Héffmann
Civil Rights Investigator

phone: (313) 456-3741

fax: (313) 456-3781

email: hoffmannr] @michigan.gov

Enclosure

CADILLAC PLACE, SUITE 3-600 3054 WEST GRAND BOULEVARD DETROIT M! 48202
CR414 (Rev, 06-16) www.michigan.gov 313-456-3700

Pe THE:

 
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Midwest Region Office, Region V -
i" Ralph H. Metcalfe Federal Building aMet- 6 2 0
f 77 West Jackson Boulevard, Room 2101 §62.723¢0

eo, cere 3 Chicago, Illinois 60604 aa llb6V CA «
C Z March 20,2020 LF
ntac H So Wr. Bako ne.

Do 13720
uglas Johnson
410 West Broad St. , ‘ a). . he g AM. 4
& Linden, MI 48451 Cain Nn / (& im
we Dear Complainant: CAck Right Metiges «Bee 9 LU - ds e~ 3 od

 

 

320 CAs TIbBY

Nia
y ™Y Subject: Section 504 Discrimination Complaint Mick. Coae Vle: ~ 40/ 3 70 S
) =~ HUD Case Name: Johnson, eo v East Tawas Housing Commission, ah CR N oe
I
oR

The subject complaint was filed with the Michigan Department of Civil Rights under the

State of Michigan’s fair housing laws. Given that the respondent is a recipient of Federal
financial assistance, the complaint will also be investigated by HUD under Section 504. Please “)
rctain the attached copy ef the Section 504 complaint for your records. N
=

4 HUD Case Number:(05-20-8460-4 O5-20- SHE O- U

arene’
—

  

Section 504 states: Weria bing 3i2- Gi3- BIET

No otherwise qualified individual with handicaps in the United $- 22-2020

States...shall, solely by reason of his handicap, be excluded from the

participation in, be denied the benefits of, or be subjected to discrimination y
under@ny/program or activity receiving Federal financial assistance. t.

‘ (©upresponsibility under the law is to undertake an impartial investigation and, at the
x

Sf

 

313- 4 3°%— 13 VC ahd 206-L 52

~ §44-U4 7/3

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same time, encourage both sides to resolve the matter through a negotiated settlement agreement

where appropriate. If the case is not settled, we will complete the investigation and decide

whether the evidence indicates that the recipient is operating in noncompliance with the

requirements of Section 504. The investigation will include a review of the pertinent practices x

and policies of the recipient, the circumstances under which the possible noncompliance _»

occurred and any other relevant factors. Ifa letter of findings is issued, and the letter makes a yw
“.
Yo

finding of noncompliance, HUD will attempt to resolve the matter through a voluntary
ood vod ere fected general, 3le- q/ 37 8 42 g

ud the investigation indicates a failure on the part of the recipient to comply with Section RQ “a
504, and if f noncompliance cannot be corrected, Federal financial assistance may be suspended or JS
(erm rminated} Other penalties may include, but are nof limited to, a referral to the Department of
Justice with a recommendation for enforcement. (ipine investigation indicates that the(recipient.

is operating its programs in compliance with Section 504, the complaint will be dismissed. In

either event, all parties will be notified of the outcome in writing.
3/2 - Gi3- GYS3B al FO0C-765-94372e

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Section 504 [24 CFR Part 8.56(k)] makes it unlawful for a recipient or anyone else fo S
intimidate, threaten, coerce, or discriminate against any person for the purpose of interfering with VY <
any right or privilege secured by this part or because he or she has made a complaint, testified, ~ Cs

ys ayy assisted, or r participated i in any manner in an investigation, proceeding, or gene under this part. sf Ke

Oy

© Mall Let Carr (P| 2

 

(PCE ALLAN 0 NA \ SS

"Some explanatory material on the law is enclosed for your information. During the

    
     
 
   

administrative processing of this complaint, parties are responsible for keeping HUD informed of \
any change in address. Failure to do so may be viewed as failure to cooperate in the A
investigation. IL U- 6-26 alt G,29AM As
Cc £ » rot
5O0Y didcrumunation” Jeet MNS
“ If you have any questions/regarding the Section 504 case, please contact our office at Ni GR
(312) 913-8453 or toll free at(800) 765-9372. Please refer to the case number at the top of this NaS
letter in those contacts. We hope thyf\information has been helpful to you,, tn {
Caaz. Meemrber Or, 2O~ BYGO. Cle, x ond 3-2e-2e
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ARE ZIT
HC~ 347-3736

V3 -8I29% A
Kimberly Nevels, DirectOf: Céifipliance Division SA &
Office of Fair Housing ‘s ee Bey ¢

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Dee. M. Pickett @ Rud. ger 313-234-1509

Rona Hofmann 319-456-374 Qnvertigaber

Mra. Can 313 - YS6-3797 Rene Bose

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Case 2°21-cv-10437-CCS-DRG ECF No. 1, PagelD.14 Filed 02/08/21 82x92

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SECTION 504
COMPLAINT PROCESS

The following is an overview of how HUD processes complaints filed by individuals who have
experienced disability discrimination under the law called Section 504. Section 504 of the

Rehabilitation Act protects you from discrimination in HUD-funded programs for which you qualify, and
is commonly called (Section 504,’ This overview of the Section 504 complaint process contains
citations to 24 CFR 8.1-8.58. These are references to specific sections of the Code of Federal
Regulations that contain HUD's regulations for Section 504. These HUD regulations set forth more

Specific rules with respect to how Section 504 applies to various HUD-assisted programs.

 

What is a Complaint? TO
A complaint is a communication alleging(discriminationybn the basis of disability and in some way

asking for HUD's assistance in resolving thé problem. It may range from a verbal communication
(which is later put in writing) to a complaint submitted on either the old HUD-903 Complaint Form, or
on the new HUD Housing Discrimination Information Form. The complaint should contain:
* the complainant's name and address;
* the name and address of the individual or organization (usually the recipient of federal
assistance) alleged to have discriminated; and

* adescription of the discriminatory actions and the date of those actions. [24 CFR
8.56(c}(5)]

The complaint may be amended fairly and reasonably(atJany time to clarify or amplify the allegation.
[24 CFR 8.56(c)(6)]

Although a complaint will contain the name of the complainant, HUD will keep the identity of the

complainant confidential unless it has written authorization from the complainant to release it, or

except as necessary to carry out the purpose of the Section 504 regulations, including the
enforcement provisions. [(24 CFR 8.56(c)(2)] /

When Must a Complaint be Filed?

Under Section 504, a complaint must be filed within 180 days of the alleged act of discrimination
unless HUD waives this time limit for good cause shown. The complaint is deemed received on the
date HUD actually receives it or, If mailed, on the date it is postmarked. [24 CFR 8.56(c)(3)]

Who May File a Complaint?

so situated, or the authorized representative of a member of that class. [24 CFR 8.56(c}(1}]

 
 

Who is an Individual witk Disabilities?

An individual with disabilities means any person who has a physical or mental impairment that /
\ substantially limits one or more major life activities; has a record of such an impairment; or is
“regarded as having such an impairment. [24 CFR 8.3]

Where May a Complaint be Filed?

 
   
 

14 of 36.

A complaint may be filed by mail with HUD Headquarters or with any HUD Office. [24 CFR 8.56(c)(4)] f

A complaint may also be filed online.

Any individual who believes he or she has been discriminated against on the basis of disability by a
S recipient of Federal financial assistance, his or her representative, or a member of a class of persons
A http://portal.hud.gov/hudportal/HUD ?src=/topics/housing discrimination &

Notification to Parties
Within ten days,of receipt, HUD will notify the ee and the recipient that it has received the

complaint. [24 CFR 8.56(d)] Lively x

Accepting the Complaint >

Within twenty days“of acknowledging its receipt of a complaint, HUD (nust determine whether it wilt
accept, reject, or refer the complaint to another Federal agency, and(mus}) notify the parties of that
decision. [24 CFR 8.56(e)(1)(i)]

To do so, HUD must determine if it has jurisdiction over the complaint.

   
 
    

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Case POT BAP7GESDRG ECF No. 1, PagelD.15 Filed 02/08/21 PER815 of 36

eee HUD have Jurisdiction? __

UD considers several factors in determining if it has jurisdiction to investigate the complaint. HUD
must determine if the complainant or the person he or she represents is a person the law was
designed to protect. In making this determination, the Department must determine whether the
individual, or the person the individual represents, is a person with a disability as defined by Section
504, The Department also must determine if the individua(is.“otherwise qualified" for the program or
activity alleged to have discriminated. For most HUD-assisted programs, an individual must have
income below a certain level in order to be eligible. In some cases, disability may also be an eligibility”
factor. For example, if a housing program is set up under the Department's Housing Opportunities for
Persons with AIDS {HOPWA) program, and the complainant's only disability isa visuatimpairment, the
person would not be qualified for the HOPWA project because that project is designed to meet the

needs of persons with AIDS, Therefore, HUD would lack jurisdiction to process this com plaint under
Section 504. OG

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Another factor HUD must consider in determining jurisdiction is whether the alleged act of
discrimination occurred in a_program, service or activity that receives Federal financial assistance from
HUD for the period during which the act occurred. If Both of these conditions are not fet, HUD must
reject the complaint and notify the complainant and the recipient of that decision. For example, if a
privately owned apartment building received HUD funds only during the period from January 1989 to
June 1990, and the alleged act of discrimination occurred in February 1988, HUD would lack
jurisdiction,

If HUD has jurisdiction over the case, then HUD will accept the complaint for investigation.

   

4K Notification of the Parties and the Recipient's Opportunity to Respond é— ¥F YL
Once the complaint has been accepted for investigation, HUD will notify the complainant, theGward)
/S official, and the recipient of its acceptance. HUD will also notify the recipient of the allegations and UM
\\ provide an opportunity for a written response to the allegations within thirty days,of receiving the —
(notice> (Like the complaint, the recipient's(respons@may be amended for good cause at any time. [24
CFR 8.56(e)(1)(ii)}

Voluntary Resolution of the Issues

During its investigation of the complaint, HUD will make every effort to define all of the issues
contained in the complaint. Throughout the complaint process, HUD will encourage a voluntary
resolution of the matter, and will assist the parties in resolving the complaint through informal
resolution or voluntary compliance. A matter may be resolved by informal means at any time. If the
Department has issued a letter finding noncompliance, the Department will attempt to resolve the
issues through voluntary compliance. The Department will develop a written voluntary compliance
agreement and will attempt to reach a resolution that satisfies the complainant, however, the
Department's primary obligation will be to ensure that any violations of Section 504 are remedied and
that actions are taken to ensure that the recipient will not violate the rights of other persons under
Section 504. [24 CFR 8.56(j)]

 

 

The Investigation

During the complaint investigation, the Department will request{allof the information that the
Department believes is necessary in order to fully investigate the issues in the complaint. The
complaint investigation will involve interviews and meetings with the parties, including any witnesses
or other persons identified as having some involvement in the issues of the complaint. The
Departmentmayalso conduct on-site reviews of facilities that are under the recipient's oversight, if
these facilities are a part of the complaint. [24 CFR 8.56(d) and (e)] Once the complaint investigation
is completed, the Department will compile all of its findings in a Final Investigative Report (FIR).

Preliminary Letter of Findings and Right to Request a Review
If an informal resolution of the complaint is achieved, the Department will issue a “Preliminary

\ Letter of Findings." This letter will contain the preliminary findings of fact, and a preliminary finding of
compliance or noncompliance. If the finding is noncompliance, the Preliminary Letter of Findings will
include a description of each violation and an appropriate remedy. It also explains that a copy of the
Final Investigative Report will be made available upon request to the recipient. A copy of the letter
should also be sent to the(complainant)[24 CFR 8.56(g}] This letter will also notify both parties that

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Case 2:2 1-cv-10437-CCYDRG ECF No. 1, PagelD.16 Filed 02/08/21 P%G2*L6 of 36
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they have the right to reques}/a complete review of thd (tor of findings provided that such request

is submitted within 30 days Of receipt of the Letter of Findings, and that the request includes a written

description of supplementary information that was not considered during the investigation of the
complaint, [24 CFR 8.56(h)]

The Preliminary Letter of Findings may also include a Voluntary Compliance Agreement (VCA) outlining

all steps necessary, along with timelines, on the part of the recipient to remedy the

identified
\violations and bring the recipient into compliance. If the recipient agrees to the VCA and(sionsit, HUD
will not proceed with enforcement activities. [24 CFR 8.56(j)]

    

Formal Determination

If a request for review is made, it must be accompanied by a written statement of the reasons the
Preliminary Letter of Findings should be modified in light of supplementary information, as explained Twew !

above. [24 CFR 8.56(h)] When areq for review is received from either party, a copy of it will be ’ ,

sent to the other party with notice of their right to respond to the request within &wenty days [24 CFR ay

8,56(h)(2)] Withingaoey Gayot the request for review, the reviewing civil rights Official will issue its

formal determination, either sustaining or modifying the letter of findings. This decision will constitute

HUD's formal determination. [24 CFR 8.56(h)(3)]

If neither party requests a review of the Letter of Findings, the Department will issue a formal

determination within _14 calendar days(after'the 30-day time period under which such a request may

be made. The formal determination will indicate compliance or noncompliance, and HUD will send this

determination to the reci ient, the com lainant and the award official, {24 CFR 8.56(h)(4)]

The Department wishes to emphasize t at throughout thie comiplaint process, all efforts will be made

to reach a voluntary resolution of the matter, However, in cases of a determination of noncompliance, fr
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once the formal Letter of Determination has been issudd, the recipient will have ten (10) calendar/
+ : . : 7 ——— . :
days. in which to agree to come into voluntary compliance. If the recipientffails)to meet this deadline,
the Department wilfinitiateJenforcement proceedings under the procedures Outlined at 24 CFR 8.57. .

( [24 CFR 8.56(i)].
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Case 2:21-cv-10437-GC SRS ECE BG 1, PagelD.17_Filgd 02/08/21 24 ee of 36

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Case Number:

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Section 504 Complaint

osr0-si03 O5-20-f460-8

Case Name: Johnson, oO) v East Tawas Housing Commission, et al.
HUD Date Filed: March 19, 2020
Marck IF ~2020
1. Complainants:
Douglas Johnson
410 West Broad St.
Linden, MI 48451
2. Complainant Representatives:

3. Other Aggrieved Parties:

4. The following is alleged to have occurred or is about to occur:

e Failure to make reasonable accommodation

5. The alleged violation occurred because of:

« Handicap

6. Address and location of the property in question (or if no property is involved, the city
and state where the discrimination occurred):

Bay Park Towers
109 Church Street
East Tawas, MI 48730

7. Respondents:

Anne Blackmore, Executive Director
East Tawas Housing Commission
Bay Park Towers South

304 W. Bay St.

East Tawas, MI 48730

8. The following is a brief and concise statement of the facts regarding the alleged violation:

I live in respondent's Bay Park Tower North apartment complex.

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Case 2:21-cv-

CE:

 

am a person with disabilities and I have. ‘been denied a reasonable modification and
accommodation by respondent. I put in several work orders asking respondent to adjust or
replace my unit's ddof and the doors in the stairwell which are heavy, hard to open, and slam
shut. I explained that my disability made it difficult to use these doors and that the slamming

noise exacerbates my disability. On December 10, 2019, I placed another work order, but was
told there was nothing respondent could do to adjust the doors.

Ihave complained for months, most recently on January 17, 2020, that respondent's failure to
maintain the apartment's garbage chute exacerbates my disability and requested that respondent
clean the chute more often. My request was denied.

I believe I have been denied a reasonable modification and accommodation by respondent.

The most recent date on which the alleged discrimination occurred:

January 17, 2020

Types of Federal Funding Identified:

* PIA

The acts alleged in this complaint, if proven, may constitute a violation of the following
sections:

Section 504 of the Rehabilitation Act of 1973

Please sign and date this form:

I declare under penalty of perjury that I have read this complaint (including any attachments) and
that it is true and correct.

3-30~- 2020

Douglas Johnson Date

NOTE: HUD WILL FURNISH A COPY OF THIS COMPLAINT TO THE PERSON OR
ORGANIZATION AGAINST WHOM IT IS FILED.

Page

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Case 2:21-cv-10437-GCS-BRERN BEE NRE RUBS FEET ROMA 02/08/21 Page 19 of 36

2960 Pelham Parkway #249
Birmingham AL 35124

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USPS CERTIFIED MAIL

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9314 8000 3860 0221 5295 75

\ IMPORTANT HUD NOTICE ¢ |

DOUGLAS JOHNSON
410 W BROAD ST
LINDEN MI 48451-8768

 
 

Case 2:21-cv-10437-GCS-DRG ECF No.1, PagelD.20 Filed 02/08/21 Page 20 of 36
1349 S. Otsego, Unit 8 |

 

LEGAL SERVICES Gaylord, Ml 49735
OF NMORTHERN MICHIGAN 989-705-1067
AN Toll Free 888-645-9993
MMMM ME BRIDGING THE JUSTICE GAP Fax 989-705-7178

Cede

February 22, 2019

Douglas Johnson

109 Church St.

Apt. 401
East Tawas MI 48730

Re: Landlord/Tenant Condition of Premises
American Disabilities Act Te - ££ D)4_F9
le prick 214-19

Dear Mr. Johnson: fo Fasthtlelney }

This letter is sent in response to_page(1 Vof a deposition and/or Court testimony

regarding your disability (enclosed). In reviewing the information contained therein this
does not indicate that you have a disability related to your breathing but rather that you
suffer from psychological conditions resulting in your disability(if)you have any medical

information regarding any limitations/impairments of the breathing process on other
bodily function related to the condition of the premises, | ask that you provide that to

> fouckitia infect

Otherwise, as | explained at the time we met, a landlord must make reasonable
accommodations for a persons disability. Additionally, that the landlord does have a
duty to maintain the premises in a reasonable state of repair. This is why the
information regarding any limitations/impairment of your breathing process or any other
bodily function related to the condition of the premises, would be important. Otherwise,
when the landlord(responds)}I will contact you. If you have any(furthep questions
regarding this matter feel free to contact me. Thanking you for your corporation and
consideration in this matter | remain sincerely,

~~ Sat nr Line mele tedve thei fob
Steve Horrfick Hh Tc 5 a LC.

Attorney at Law

 

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1349 S. Otsego, Unit 8

 

, LEGAL SERVICES Gaylord, M! 49735
rN “™] OF NORTHERN MICHIGAN 989-705-1067
ahnneth Toll Free 888-645-9993
MME ME BRIDGING THE JUSTICE GAP Fax 989-705-7178

ta. City Fax 213-423-1202 OS-16-/9
quardh fp ters
February 22, 2019 .

East Tawas Housing Commission g I,
304 East Bay St.
East Tawas MI 48730-1159 .

Re: Douglas Johnson

109 Church St. Apt. 401

Dear Sir/Madam:

te

Recently, | was contacted by Mr. Johnson, who is renting apartment 401. He said heis “
having issues regarding the cleanliness, sanitary conditions of the common areas

therein. Initially, Mr. Johnson indicates that the rugs in the hallways are dirty and stink,

He said that he has not seen on any occasion when the hallway rugs have been ‘
cleaned and the smells make him nausea/sick. Also, he represents that the same
conditions exist with the community garbage shoot.,He indicates that the smell from the
garbage shoot resinates throughout the hall and into his apartment once again causing |
him to become ill. Finally, it is believed that the central trash unit (dumpster) maybe
causing some of the issues with the garbage shoot because upon last observation Mr. aD

Johnson indicated that the dumpster was filthy with garbage Stuck to it and a foul smell
coming from it. .

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Therefore, upon receipt of this letter | ask that you take the necessary steps to resolve
the issues regarding the sanitary conditions in the common areas of Mr. Johnson’s
apartment. If you have any further questions regarding this matter feel free to contact
me. Thanking you for your cooperation and consideration in this matter | remain

. sincerely,
16) Wt clot chean air def

Steve Hornick
Attorney at Law

SH/cmp

cc: Douglas Johnson

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Foundation, and AAA regions 9, 10 & 11. fm

 
C 2:21-cv-10437-GCS-DRG ECF No.1, PagelD.22 Filed 02/08/21 Page 22 of 36
"4 Ascension St. Joseph Hospital Internal Medicine Clinic

4 295 Maple, Tawas City, MI, 48763
eo Phone (989) 362-6108 Fax (989) 362-0161

MRN Encounter Date

003700994 j 03/25/2019 11:30AM

Patient Information DOB - 09/13/1944 |
DOUGLAS JOHNSON (H) (989) 820-7034

109 CHURCH ST, APT 401

APT 401

   

EAST TAWAS, MI 48730

 
 
 

Clinical Summa

DOUGLAS Male 003700994
Preferred Name Sex MRN

109 CHURCH ST, APT 401, APT ENGLISH September 13, 1944
401, EAST TAWAS, MI, 48730 Language Born

Address

 

White Not Hispanic or Latino ‘ K
Race Ethnicity OLA

Jordan, Kenneth MD 25 Mar 2019 11:30 AM

Provider . ° Appointment

ChiefComplaintFreeTextNoteForm:
Patient is here for pouchitis

 

 

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1 of 3 3/25/19 11:41:12 AM

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ih U.S. Department of Housing and Urban Development 10.00 Nt
Ben (awore Detroit Field Office DP» eb bre Atabentw Jog
2 OQ c ~TJOo  - OofI7 Office of the Director ~720- Lif 72 ink

Patrick V. McNamara Federal BLE ot

477 Michigan Avenue, Room 1710 Call | 73 225 é OL er Ier
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mo E~ 9. 2020
December 23, 2019 : g. 30AM Mack Le Rene Pe

The Honorable Congressman Dan Kildee a 3~ 20 |
Ss i Palen G2q- Soy “Pile.

U.S. House of Representatives

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601 S. Saginaw Street, Suite 403 +
ee MN ichaed 0 Robo ell Oyster abi
d ‘ SUBJECT: Constituent (Douglas Johnson) Inquiry - Tracking Number 2020-31

Ib f Property Name: Bay Park Tower North

Dear cmowany tien _ DO trth F. ielld Oo 4 foc’
Mickask Pb aire 313-234-7502

Thank you for your inquiry and background information dated November 29, 2019, regarding
your constituent, Douglas Johnson’s complaint which references violations of the Americans with
Disabilities Act (ADA), and EPA’s Clean Air Act at his current residence, Bay Park Tower North,
oO located in East Tawas, Michigan. | Bay Park Tower North is a HUD Project-Based Section 8 property,
~ designated for the elderly and disabled. This HUD Multifamily property consists of one (1) building with
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an elevator. It is comprised of 44, one (1) bedroom, subsidized units. Jewte 2 fe 2.

1 The Detroit Multifamily HUD office was initially contacted by/Mr. Johnson via telephone on

Cd February 27, 2019 regarding concerns about the building’s odorous trash chute, and stated the hallways
were unclean. HUD contacted Ms. Anne Blackmore, the Property Manager regarding the allegations.

On February 28, 2019, Ms. Blackmore provided a response to HUD regarding actions that were
taken to resolve Mr. Johnson’s complaints. Ms. Blackmore stated(ho/other complaints were received for
either of the issues. She stated the hallway carpets were cleaned two weeks prior and the trash compactor

. L is cleaned during the summer months and spot cleaned, nl needed, during the winter months due to safety

. reasons. ° Oo 12.56 fm
ae degrted Meveles. Call 6; 2-2020 ot

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arch 1, 2019, a conference call was AEH wi Sith a Rey Johnson and the HUD Account
Executive, Ms. Doris Pickett and her Branch Chief, Mr. Joshua Osborne. Mr. Johnson mentioned other ,

complaints. bhe Caoth AtCmMmeg 6-4-2020.

Our office received verification via email on March 26", that the following actions were

S completed to address Mr. Johnson’ of Y S- akenal & § 00 - S 7 cn 2. E65 57

Carpet cleaned inside Mr. Johnson's apartment, hallways 2 and lobby of 4th floor on March 19,
2019. A copy of the invoice was provided to HUD.

2. Pest Control company inspected Mr. Johnson's apartment on March 15, 2019. No mites or
insects were found. He was informed of this and HUD was provided a copy of the report.

3. The trash compactor was removed, cleaned and repainted during the week of March Also,
alJ/the chutes were cleaned. Photos were provided to HUD. .

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On October 29, 2019, a follow-up complaint was received from Mr. Johnson regarding the.trash
‘ chute odor and loose gravel in the parking ot. Ms, Pickett requested Mr. Johnson to submit an email
regarding his concerns. On the same date, Ms. Pickett emailed the property manager regarding Mr.

Johnson's concerns. A

6 On November 1, 2019 HUD received a response from the Property Manager stating, Mr. Johnson

 

received a lease violation letter last week for putting himself in harm’s way (liability issue) by going out

to the trash compactor, garbage container and lifting the steel lid, after it had been unloaded by the | Xv

contractor. Mr. Johnson was seen with a small broom and dustpan last week sweeping up small areas of |

the parking lotc Ms. Blackmore stated they do not havea gravel issue in the parking-lot and both she and N

the nainemed roe inspected the arca and did not see any issue. ’

wed Fire yr /s Yye2arsd

On November 8, 2019 Ms, Pickett emailed Mr. Johnson sharing the tipdate from the property , ¥

manager regarding his complaints and asked him what action he was specifically requesting. Y

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buenind ame OL arch IG-2019 .Q
= On November 11, 2019 Mr: Johnson replied ie wanted heasonable accommodationAinder federal Ay 9
Dp law. However, he did not specify what accommodation he was requesting. ¥
~ On December 2, 2019, Ms. Mary Mathis, Branch Chief, emailed Mr, Johnson stating she was out ‘
G of the office the previous week and asked for clarification on what reasonable accommodation he was ;
asking for. Ms. Mathis stated that no other complaints were received regarding the issues lie mentioned, ‘e) ¥
and said the manager stated the trash compactor is typically cleaned witha power washer on a monthly 7’
basis. She also mentioned that HUD’s contractor visited the property on October 28, 2019 and noted the |
condition as satisfactory. i hee . QD i whal: Le 1G P
uinasy hems |

/ On December 5, 2019 Ms. Pickett emailed Mr. Johnson to ask if he would be available for a
conference call with HUD? * %

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On Noveniber-24, 2019, Mr. Johnson emailed Ms. Pickett, who wagon extended leave and
received an automatic reply stating she was out of the office. The message included contact information , y —
for an alternate Account Executive for assistance during her absence, ¥

On December 6, 2019 Ms. Pickett telephoned the East Tawas Health Department and left a voice
/ mail message and asked if they would opnsider conducting an air quality (estat Bay Park Tovwlrs,

a a@

. On Decémber 9, 20 wie Pickett left a 2™ message with East Tawas Health Department. On the
“same day, Ms. Pickett received a return cali from the East TawdS Health Department. They stated they.
_do-no perform air quality tests. Ms. Pickett asked if they would-consider conducting a site visit at the

property. She was told it would be up to a managing Supervisor and suggested sending in a written email

from HUD requesting the inspection.
rc Cicead Ug

. *\ On December 10 & 12°, 2019, Ms. Pickett sent emails to the East Tawas Health Department
) -5/ asking if they would consider conducting a site visit at. Bay Park Tower North.

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/ HUD’s email request and it would be reviewed by a managing staff member.. As of December 20, 2019

(4) On December 12, 2019 the East Tawas Health department confirmed via email they rectived = -*
LY HUD has(iodreceiVed any further updates from East Tawas Health Department.

 
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=> Also, on December 12, 2019 a conference call was held with Mr. Johnson and HUD Branch
16) ua Mary Mathis and Ms. Pickett. Mr. Johnson was informed that HUD had reached out to the Health
Oe Department and have not heard back yet. Ms. Mathis explained that there have beenfroyther r complaints /
Le and the HUD contractor noted the condition as satisfactory, so this is hot considered a priority. He was
informed that HUD staff would agree to visit the property during routine site inspections. However, due

to limited resources, it would be several months before another inspection would be done.
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It is our Opinion, that this complaint is being addressed adequately. If you have any questions
regarding the fesponse or require additional information, pleasé contact me at (313) 234-7502.

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Michael Polsinelli
fe: S 4a Caan VLE Lima. Director
Ln. Lie (5 Med, L AVA Phere, Detroit Field Office

 

 
 

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Congress of the United States
House of Representatives
Washington, BC 20515

Congressman Dan Kildee |

PRIVACY RELEASE FORM

I, Do uG L AA S Johws CMs (Print Your Name) do hereby

authorize
H Lie £ anel Ejreculive Liuee vk Lime Lha cholo
(NAME OF GOVERNMENT AGENCY) Bao’ *T A we. G 75 G- 3 f2- y O62.

dees. H o1edcr aA intderi~.
to release all necessary and pertinent information to Congressman Dan Kidee and his sta’

regarding the matter described below.
Social Security Number/File Number 3/2- SO =“ TG9E 7

Please give a brief description of your request. Attach additional sheet(s) if more room is needed,
Gre (0-9-18 Gung, Discrimination of disabhibity s Lig orn
atrut Fiabe 20/9 she or arotrtiomn of dmericand wrth Leaghilitce
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Signature Lcugl: zed. b Iedrden Date / {= 2 G= ZOo/ g
Address /0O9 Cherch at: poe lated. Mle, YS 7230
E-Mail dpths ven 2 77728 Sail q S G- a 20-7037

Return form to:
Office of Congressman Dan Kildee

cor s. Saginaw St., Suite 403 Teh. ee 5 Oo _ 9 2 De 7 O Z 4
THIS FORM IS Mey

 

Fax: 810-238-8658

D FOR ONE YEAR FROM DATE
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ZG } Case 2:21-cv-10437-GCS-DRG ECF No. 1, PagelD.34 Filed 02/08/21 Page 34 of 36
CIVIL COVER SHEET

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County in which action arose:

The JS 44 civil cover sheet and the information contained herem neither replace nor supplement the filing and service of pleadings or other papers as required by law. except as
provided by local rules of court. This form. approved by the Judicial Conference of the United States in September 1974. 15 required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet.

I. ok PLAINTIFFS

Dog laa

(b) County of Residence of First Listed Plaintiff

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(c) Attorneys (/1fm Name, ane vss, and Telephone Number)

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DEFENDANTS

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County of Residence of First Listed Defendant fF ¢ —
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If. BASIS OF JURISDICTION (iuce an ox"

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Plaintiff

oO 2 US. Government
Defendant

  

Sderal Question

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LS. Government Nota Party}

UE. CITIZENSHIP OF PRINCIPAL PARTIES
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of Business In This State

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110 Insurance
120 Marine
130 Miller Act
140 Negotiable Instrument
UO 150 Recovery of Overpayinent
& Enforcement of Judgmen
15} Medicare Act
152 Recovery of Defaulted
Student Loans
{Excludes Veterans}
oO 153 Recovery of Overpayment
of Veteran's Benefits
Oo 160 Stockholders* Suits
190 Other Contract
195 Contract Product Liability
196 Franchise

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| 9240 Land Condemnation
220 Foreclosure
230 Rent Lease & Ejectment
240 Torts to Land
245 Tort Product Liability
290 All Other Real Property

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CAUSE OF ACTION |

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State Court

    
    
 

PERSONAL INJURY

310 Awplane

318 Airplane Product
Liability

320 Assault. Libel &
Slander

330 Federal Employers’
Liability

340 Marine

345 Marme Product
Liability

350 Motor Vehicle

355 Motor Vehicle
Product Liability

360 Other Personal
Injury

[| 362 Personal Injury -

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Lf 440 Other Civil Rights

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PERSONAL INJURY

oO 365 Personal Injury -
Product Liabslity

Ci 367 Heatth Care/
Pharmaceutical
Personal Injury
Product Liability

oO 368 Asbestos Personal
Injury Product
Liabiltty

PERSONAL PROPERTY

[370 Other Fraud

L378 Truth in Lending

Cl] 380 Other Personal
Property Damage

oO A&S Property Damage

Product Liability

   
   
     
  

Habeas Corpus:
f_] 463 Alien Detainee
S10 Metions to Vacate
Sentence
|} 530 General
1 535 Death Penalty
Other:
PY 540 Mandamus & Other
HT] S80 Civil Rights
B_] 855 Prison Condition
LJ 568 Cod Detainee -
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CJ CHECK UF THIS 1S A CLASS ACTION

FOREEITURE/PENALTY
YF 625 Drug Rekited Seizure
of Property 21 USC 881
F690 Other

[710 Fair Labor Standards
Act

| 4720 Labor Management

Relations

|} 740 Railway Labor Act

751 Family and Medical
Teave Act

790 Other Labor | iipation

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L465 Other Immigration
Actons

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BANKRUPTCY

| 422 Appeal 28 USC 158
[| 423 Withdrawal
28 USC 187

     
      

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375 Falsa Claims Act
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400 State Reapportionnient
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or Defendant) L896 Arbitration
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COMPLAINT: UNDER RULE 23, F.R-Cv.P JURY DEMAND: Paves [Jno
VII. RELATED CASE(S) _ Td
IF ANY (See insiruchons): DOCKET NUMBER

JUDGE

 

 

DATE
October 15, 2020

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RECEIPT #

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JUDGE MAG, JCDGE

 
Q) Case 2:21-cv-10437-GCS-DRG ECF No. 1, PagelD.35 Filed 02/08/21 Page 35 of 36

 

PURSUANT TO LOCAL RULE 83.11
1. Is this a case that has been previously dismissed? [ | Yes
If yes, give the following information:

Court:

 

Case No.:

 

Judge:

 

2. Other than stated above, are there any pending or previously
discontinued or dismissed companion cases in this or any other [ ] Yes
court, including state court? (Companion cases are matters in which J No
it appears substantially similar evidence will be offered or the same
or related parties are present and the cases arise out of the same

transaction or occurrence.)
If yes, give the following information:

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Case No.:

 

Judge:

 

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Case 2: 21-Cv- 10437- GCS- DRG_ECF No. 1, PagelD.36_ Filed 2/08/21 Page 36 of 36
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